                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             ST. JOSEPH DIVISION

RURAL COMMUNITY WORKERS                             )
ALLIANCE and JANE DOE,                              )
                                                    )
                      Plaintiffs,                   )
                                                    )
v.                                                  )      No. 5:20-CV-06063-DGK
                                                    )
SMITHFIELD FOODS, INC. and                          )
SMITHFIELD FRESH MEATS CORP.,                       )
                                                    )
                      Defendants.                   )

                             JUDGMENT IN A CIVIL ACTION

       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict.

 X Decision by Court. This action has been considered and a decision has been rendered
by the Court.

IT IS ORDERED AND ADJUDGED that Defendant’s motion to dismiss (Doc. 28) is
GRANTED, and the case is DISMISSED without prejudice.




May 5, 2020                                 Paige Wymore-Wynn
Dated                                       Clerk of Court

May 5, 2020                                 /s/ Tracy Strodtman
Entered                                     (by) Deputy Clerk




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